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                                            #2375



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
vs.                                             )   CRIMINAL NO. 04-30139-01-GPM
                                                )
DOUGLAS FARMER,                                 )
                                                )
                      Defendant.                )


                                           ORDER
MURPHY, District Judge:

       Defendant, Douglas Farmer, continues to file motions in this criminal case (see Docs. 961,

966). The Court lacks jurisdiction to hear these motions. Judgment was entered on June 25, 2007

(see Doc. 757); the mandate of the Court of Appeals was filed on October 6, 2008 (see Docs. 923).

Farmer does not cite to any statute or case which grants this Court the authority to consider his

motions.

       Accordingly, the instant motions are DENIED.

       IT IS SO ORDERED.

       DATED: 5/13/09

                                                    s/ ZA ctàÜ|v~ `âÜÑ{ç
                                                    G. Patrick Murphy
                                                    United States District Judge
